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CAUSE NO. #23 DCV0776-----BARBERS HILL INDEPENDENT SCHOOL DISTRICT v. DARRESHA
G. FOR MINOR PLAINTIFF D.G.------- 253RD DISTRICT COURT OF CHAMBERS, COUNTY

IN THE UNITED STATES DISTRICT United States Courts
COURT FOR THE SOUTHERN DISTRICT — Southern Distict oF Texas
OF TEXAS HOUSTON DIVISION FILE
bate e SEP 29 2023
DARRESHA GEORGE, individually and
a/n/f of D.G. and D.G., §
§ Nathan Ochsner, Clerk of Court
Plaintiffs, §
§
v. § C.A.NO. 4:23-ev-_ QYO(
BARBER’S HILL INDEPENDENT §
SCHOOL DISTRICT, §
§
Defendant. §

DEFENDANTS’ NOTICE OF REMOVAL
Defendant, Darresha G. as next friend of D.G., appear pursuant to 28 U.S.C. § 1446(a) to
file this Notice of Removal.

Prior to removal, Plaintiff, BHISD filed its PLAINTIFF'S ORIGINAL PETITION FOR
DECLARATORY RELIEF on September 20, 2023, in the 253®” District Court of Chambers County,
Texas, styled as Cause No.23DCV0776; Barber’s Hill Independent School District v. Darresha G.
on behalf of D.G., a minor child.

Defendant, Darresha G. on behalf of D.G. was not personally served with service of process,
although Defense Counsel was sent an email alluding to a filing by BHSID on September 20, 2023.
Accordingly, this action has been timely removed to federal court within the thirty-day period
prescribed by 28 U.S.C. § 1446(b).

In their complaint, Plaintiff alleges claims underneath THE TEXAS CROWN ACT and asks the
Court to make a judicial determination as to whether its dress code and grooming policy violates
THE CROWN ACT. Defendant, filed a lawsuit against Greg Abott and Ken Paxton for violations
of race and sex discrimination (direct and disparate impact), due process and equal protection
violations, as well as violations of THE CROWN ACT and other state claims (such as breach of
fiduciary duty and ITED). Once Defendants were sued in state district court, BHSID and BHISD

employees waived their right to force Plaintiff to exhaust her/their administrative remedies, and so,
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Defendant countersued Plaintiff. Defendant then filed this notice of removal. Since this Court would

thus have had original “federal question” jurisdiction under Title VI of the Civil Rights Act of 1964,

42 U.S.C. Section 2000e et seq; 42 U.S.C. Section 1983 and 1988 et seq. if Defendant’s

counterclaims had been filed originally in federal court, jurisdiction over this case is exercisable by

removal under 28 U.S.C. § 1441(a) & (b). Plaintiffhas also asserted Texas law claims arising out of

same factual transaction, over which this Court has supplemental jurisdiction. See 28 U.S.C. Sec.

1367.

4, Before removing to federal court, Defendants appeared and answered this lawsuit.

In the same pleading Defendants filed a counterclaim, request for declaratory judgment, and request
for TRO Injunction on many federal issues.

No other Defendants have been served in this suit.

5. Defendants requested a jury trial in their countersuit.

6. Upon the filing of this Notice of Removal, written notice of the filing of these
removal papers is being given to Plaintiff by Defendants removing this action. A copy of the Notice
of Removal is also being filed with Chamber’s County District Clerk. The following index is
provided as required by the Local Rules for the Southern District of Texas:

Index of Matters Filed

Exhibit A _— Plaintiff's Original Petition for Declaratory Relief
Exhibit B Defendant’s Original Answer and Countersuit
ExhibitC = Notice of Removal filed in State Court

ExhibitD = Copy of the Docket Sheet in the state court action

Exhibit E List of Attorneys and Parties in the state court action
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FOR MINOR PLAINTIFF D.G.------- 253RD DISTRICT COURT OF CHAMBERS, COUNTY

7. The requirements of 28 U.S.C. §1446(a), (b), (d) and (e) and S.D. Tex. Loc. R. LR81
are thus satisfied. Accordingly, Defendants in the action, appear and respectfully request that the
removal of this action be entered on the docket of this Court.

Respectfully submitted,

By: _/s/ Allie R. Booker
Allie R. Booker
State Bar No. 24071071
THE BOOKER LAW FIRM
1200 Rothwell
Houston, Texas 77002
713-292-2225

booker(@bookerlawfirm.com
COUNSEL FOR DEFENDANTS
DARRESHA G. AS NEXT FRIEND OF
D.G.

CERTIFICATE OF SERVICE

I certify that all counsel of record have been served a true and correct copy of this document
by email and by electronic service through Texas E-Filing for Court on September 26, 2023 and
also in and through the Pacer (NexGen) System, the E-filing system for the Southern District of
Texas.

/s/ Allie R. Booker
Allie R. Booker

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Filing Submitted for Case: 79968294; ; Envelope Number: 79968294

no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud >
Tue 9/26/2023 4:46 PM

To:Allie Booker <booker@bookerlawfirm.com>

Filing Submitted

L-JEFile State Logo Envelope Number: 79968294
. Case Number: 79968294
Case Style:

The filing below has been submitted to the clerk's office for review. Please allow 24 - 48 hours
for clerk office processing.

Filing Details
Court Lee County
Date/Time Submitted 9/26/2023 4:45 PM CST
Filing Type Petition

Original Petition in Suit Affecting the Parent-Child Relationship

Filing Description with TRO Request

Type of Filing EFile
Filed By ALLIE BOOKER
Filing Attorney ALLIE BOOKER

Fee Details

Your account is never charged until your filing is accepted. If you see any pending charges on
your account prior to acceptance, this is an authorization hold to ensure the funds are
available so your filing can be accepted without delay.

If the filing is canceled or rejected these funds will be released and will return to your account
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Case Fee Information $360.58
Case Fees $350.00
Payment Service Fees $10.58
Petition $16.00
« Optional Services Fee Per Quantity

e Issue Citation $8.00 1 $8.00

e« Issue Precept/Notice $8.00 1 $8.00

Total:$376.58 (The envelope still has pending filings and the fees are subject to change)

Document Details |
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Petition in Suit Affecting the Parent-Child Relationship- for filing-
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